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            4   Attorney for
                ROBERT D. DODSON
            5

            6                         UNITED STATES DISTRICT COURT

            7                        EASTERN DISTRICT OF CALIFORNIA

            8                                  *   *   *   *   *

            9                                      |
                UNITED STATES OF AMERICA,          |       Case No. 1:10-CR-00176-AWI
           10                                      |
                            Plaintiff,             |       STIPULATION & ORDER FOR RETURN
           11   vs.                                |       OF PROPERTY
                                                   |
           12                                      |
                ROBERT D. DODSON,                  |
           13                                      |
                      Defendant.                   |
           14                                      |

           15   THE Defendant, ROBERT D. DODSON, through his attorney, James R.

           16   Homola, and the Plaitiff United States of America, through its

           17   attorney, Elena S. Landau, hereby stipulate that the property

           18   identified below, three firearms seized from the DODSON home at

           19   133 West Mariposa, Ridgecrest, California, in April, 2010, by the




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                Naval Criminal Investigtive Service during its investigation of

            1   this case, shall be released to Robbie Gockley, whose residential

            2   address is 1321 Mayo, Ridgecrest, California, 93555 [telephone

            3   number (760) 608 3073].    It is the express mutual understanding of

            4   the government and the Defendant, ROBERT DODSON, that he will not

            5   possess, and will have absolutely no contact with these firearms.

            6

            7   The property is identified in NCIS evidence custody documents

            8   (control number 05Jan10-SWCK-0002-7NNA) as:

            9   (1)   “one .22 rifle, no make or model”

           10   (2)   “one Colt Detective Special”

           11   (3)   “one .357 Taurus handgun serial number JG330695"

           12

           13   DATED: April 5, 2012

           14

           15   /s/ Elana S. Laundau            /s/ James R. Homola
                ELANA S. LAUNDAU                JAMES R. HOMOLA
           16   Assistant U.S.S Attorney        Attorney for Defendant
                Attorney for Plaintiff          ROBERT D. DODSON
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           18

           19




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                                                    ORDER

            1   IT IS HEREBY ORDERED that the Naval Criminal Invbestigative

            2   Service (NCIS) shall release the property identified in the

            3   stipulation above to Robbie Gockley, resident at 1321 Mayo,

            4   Ridgecrest, California, 93555.        Defendant Robert D. Dodson is not

            5   to possess, or to have any contact with these firearms.

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